Case 1:22-m6-00118-LAK Document 8 Filed 04/22/22 Page 1 of 32

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE EX PARTE APPLICATION OF
SPS I FUNDO DE INVESTIMENTO DE ACOES —
INVESTIMENTO NO EXTERIOR

Petitioner, No. Mise, 22-4 -| IX (LAK )

For an Order Pursuant to 28 ULS.C, § 1782 to Take
Discovery for use in Contemplated Proceeding in the
Federative Republic of Brazil.

IPROPOSED] ORDER

Upon consideration of the ex parte application of SPS I Fundo de Investimento de Acées
— Investimento no Exterior (“Petitioner”) in application for an order permitting Petitioner to
obtain discovery from from J.P. Morgan Chase Bank, N.A. (“JPM”) and from Barclays USA,
Inc. “Barclays” and with JPM, each a “Respondent” and together the “Respondents”) for use
in a contemplated foreign legal proceeding pursuant to 28 U.S.C. § 1782 (the “Application”).
and all papers submitted in support thereof including the supporting memorandum of law and

exhibits attached thereto, es the Gonzalez Declaration', Plea Agreement and JPM

Ap sobsegu Ce fr
Statement, this con i at (1) the statutoreequirenfemts o1 section are satisfied, (2) the
factors identified by the United States Supreme Court in Jntel Corp. v. Advanced Micro Devices,
Inc., 342.08. 241 (2004), weigh in favor of granting the Application and (3) granting the
Application ex parte is warranted under the circumstances and will not prejudice the rights of
Respondent to move to vacate this Order or quash Petitioner’s discovery requests authorized

hereunder. It is therefore:

' Capitalized terms used but not defined herein have the meanings ascribed to them in the Application,

Case L:22-mc-OOl1sLAK DooumemS Filed 04/24/22 Page 2 of 32

ORDERED that the Application is granted; and it is further
ORDERED that Petitioner is authorized to conduct discovery in this District relating to

the issued identified in the Application and supporting papers for use in the Brazilian Proceedings

in accordance with the Federal Rules of Civil Procedure and the Local Civil Rules of this Court
CH
snehedttre-witiomttimrtatres-by/i sure Respondents subpoenas for the production of documents
in the forms annexed hereto as Exhibits 1-2, respectively; and it is further
ORDERED that counsel for Petitioner are hereby appointed to 4ssue,sign—andserve
}_\subpoenas upon Respondentgand SE mony in this matter mey-betaken before any certified
cout reporter authorized to take testimony and administer oaths, and such court reporters are
hereby authorized to take testimony in this matter; and it is further
ORDERED that Petitioners’ counsel shali serve a copy of this Order and all papers upon
which it was based together with said subpoenas; and it is further
ORDERED that Respondents are directed to comply with the subpoenas in accordance
with the Federal Rules of Civil Procedure and Local Civil Rules of this District and Rules of this
Court, as applicable; provided, howeyer, that this Order is without prejudice to the rights of
| Respondent to file a motion to vacate or qvash; and it is further
ORDERED that Petitioner is authorized in its discretion to use or not use any discovery
obtained by this Order in aid of the Brazilian Proceedings without further leave of this Court; and
it 1s further
ORDERED that this Court has and shall retain jurisdiction over this matter.

SO ORDERED:

Date: (2% , 2022 “hu

UNITED STATHS DISTRICT JUDGE

Case 1:224mc-O0118-LAK DooumentS Filed 04/24/22 Page 3 of 32

EXHIBIT 1
SUBPOENA FOR PRODUCTION OF DOCUMENTS

J.P. Morgan Chase Bank, N.A.

Case 1:22-mc-00118-LAK Documents Filed 04/24/22 Page 4 of 32

AO 88B (Rev. 12/13} Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of New York

SPS | Fundo de investimento de Acées — Investimen

Plaintiff
Vv

In re Application pursuant to 28 U.S.C. § 1782 for
discovery in aid of foreign proceeding

Defendant

Civil Action No.

Nene Ne Smee” eee” Nee Se”

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: J.P.Morgan Chase Bank, N.A.

(Name of person to whom this subpoena is directed)

of Production: YOU ARE COMMANDED to produce at the time, date, and piace set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
See Attachment

Place: Baird Holm LLP, 1700 Farnam Street, Ste 1500, Date and Time:
Omaha, NE 68102-2068, attn: Jeremy C. Hollembeak

Ol Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time:

The following provisions of Fed_R. Civ, P. 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date: -
CLERK OF COURT
OR
- ‘sf Jeremy C. Hollembeak _
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (name of party) Petitioner

_ , who issues or requests this subpoena, are:

Jeremy C. Holembeak, Baird Holm LLP, 1700 Farnam Street, Ste 1500, Omaha, NE 68102-2068, Email:

jhollembeak@hairdholm com Fel (402) 636-8317

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom

itis directed. Fed, R, Civ, P. 45(a\(4)}.

Case 1:22-mce-00118-LAK Document Filed 04/24/22 Page 5 of 32

AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court untess required by Fed, R. Civ, P_ 45.)

i received this subpoena for (name of individual and title, if any)

on (date}

O [served the subpoena by delivering a copy to the named person as follows:

on (date) ; or

C] I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, | have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

s

My fees are $ for travel and $ ‘for services, fora total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server 's signature

Prinfed name and title

Server 's address

Additional information regarding attempted service, etc,:

Case L22smc-OO118-LAK Document S Filed 04/26/22 Page 6 of 32

AO 88B (Rev. £2/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)

(c} Place of Compliance.

(1) For a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within 100 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B} within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i} is a party or a party’s officer; or
(i) is commanded to attend a trial and would not incur substantial
expense,

(2) For Other Discovery. A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(@) Protecting a Person Subject to a Subpoena; Enforcement.

()) Avoiding Undue Burden or Expense; Sanctions. A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to the
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attomey who
fails to comply.

(2) Command io Produce Materials or Permit Inspection,

(A) Appearance Not Required. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial,

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested,
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the foHowing rules apply:

(i) At any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection,

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting frorm compliance.

(3) Quashing or Modifying a Subpoena,

(A) When Required. On timely motion, the court for the district where

compliance is required must quash or modify a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iti) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permiited. To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

(ii) disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C) Specifving Conditions as an Alternative. in the circumstances
described in Rule 45(d}(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

{i} shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

{ii} ensures that the subpoenaed person will be reasonably compensated.

(e) Duties in Responding to a Subpoena,

(1) Producing Documents or Electronically Stored Information, These
procedures apply to producing documents or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them fo correspond to the categories in the demand.

(B) Form for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it is a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stored Information Produced in Only One Form. The
person responding need not produce the same electronically stored
information in more than one form.

(D) Inaccessible Electronicaily Stored Information. The person
responding need not provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion to compel discovery or for a protective
order, the person responding must show that the information is not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C}. The court may specify conditions for the discovery.

(2} Claiming Privilege or Protection,

(A) information Withheld. A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claiin.

(B) Information Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation materiai, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved; must take reasonable steps to retrieve the
information if the party disclosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for a determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

{z) Contempt.

The court for the district where compliance is required—and also, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequate excuse to obey the
subpoena or an order related to it.

For access to subpoena materials, see Fed, R. Civ, P. 45¢a) Committee Note (2013).

Case 1:22-me-00116-LAK Document Filed 04/26/22 Page 7 of 32

Attachment A

DOCUMENTS TO BE PRODUCED

Pursuant to Rules 34 and 45 of the Federal Rules of Civil Procedure, You are required to produce
the documents and/or communications in Your possession, custody, or control responsive to the
requests for production (“Requests”) set forth below, at the place, date, and time specified in the
document subpoena to which this schedule is attached, or at such other time as may be agreed, in

accordance with the Federal Rules of Civil Procedure.

DEFINITIONS

The words and phrases set forth below have the following meanings when used in the Requests:

1, The term “Applicant” shall mean SPS I Fundo de Investimento de Acdes — Investimento no

Exterior, or any other representative acting on its behalf.

2. “Agent” of an entity means a person or other entity with apparent or actual authority to act on
the first entity’s behalf for any purpose whatsoever, or any Affiliate or representative of the first
entity, including but not limited to advisors, attorneys, consultants, employees, experts, fiduciaries,

and insurers.

3. “Any” shall be construed to include the word “all”, and “all” shall be construed to include the

word “any”,

4, The words “and” and “or” shall be construed either disjunctively or conjunctively as necessary
to bring within the scope of the discovery request all responses that might otherwise be construed

to be outside of its scope.

5, “Communication” or “communications” means any transmittal of information (in the form of

facts, ideas, inquiries, or otherwise) whether orally or by document, telephone, telecopier, mail,

fax, email, voicemail, cellular phone text message, instant message, personal delivery, or by an
Pp > Be, p y

other means, be they analog, electronic or otherwise.

72 64 39 46. 23 66. 33 Ce. 46

6, The terms “concerning,” “concerns,” “relating to,” “referring to,” “pertaining to,” “reflecting,”

“evidencing,”, “constituting” and any variant thereof , means relating to, regarding, referring to,

concerming, reflecting, involving, pertaining to, containing, describing, evidencing, discussing,

Case 1:22-me-O0118-LAK Documents Filed 04/26/22 Page 8 of 32

analyzing, recording, embodying, or constituting the subject matter described in the category of

documents.

7. “Document” or “documents” includes, but is not limited to, all accounts, accounting journals,
addenda, advertising materials, agreements, analyses, bids, bills, blueprints, books, bulletins,
calendars, canceled checks, cashbook, charts, checkbooks, check stubs, chronicle, computer
software, contracts, contract memoranda, memoranda of conversations or communications,
correspondence, delivery tickets, diagrams, diaries, drawings, electronic mail, estimates, facsimile
sheets, financial statements, flow sheets, forms, graphs, index, index sheets, internal
communications, instant messages, inter-office directives, invoices, job cost records, journals,
ledgers, letters, lists, logbooks, magnetic tapes, manuals, maps, memoranda, microcards,
microfilms, minutes, notes, orders, outlines, papers photographs, plans, price lists, printouts,
proposals, purchase orders, quotations, Quickbook records, records, renderings, reports, requests,
requisitions, schedules, sketches, statements, studies, summaries, tapes, telegrams, telephone bills,
telephone message slips, text messages, time sheets, transcripts, transmittals, travel and expense
accounts, vellums, videotapes, vouchers, work orders, WhatsApp communication, worksheets,
writings and any other data or data compilation stored in any medium from which information can
be obtained in your possession, custody, or control, or known to you, whether or not prepared by
you. “Document” or “documents” also includes all copes which are not identical with the original.
In addition, each request should be considered as including all copies, and to the extend applicable,
preliminary drafts of documents that differ in any respect from the original or final draft or from
each other (e.g., by reason of differences in form or content or by reason of handwritten notes or
comments having been added to one copy of document but not on the original or other copies
thereof). The term “Documents” includes both hard copy documents and electronically stored
information (“ESI”), including email, instant messaging, shared network files, databases, any data
on magnetic or optical storage media (e.g., servers, storage area networks, hard drives, backup
tapes, CDs, DVDs, thumb/flash drives, floppy disks, or any other type of portable storage devices)

stored as either an “active” or backup file, in its Native Format.

8. “Each” shali be construed to include the word “every”, and “every” shall be construed to include

the word “each’’.

9. The term “including” shall mean including without limitation,

Case 1:22-mc-00118-LAK Document Filed 04/28/22 Page 9 of 32

10. “Person” refers to a natural person, group of natural persons acting as individuals or group of
persons acting in a collective capacity (e.g., as a committee, board of directors, etc.) or any legal
entity, including, without limitation, any business or governmental entity or associations, including
a governmental agency, corporation, partnership, sole proprietorship, trust, or business entity in

any form.

11. The term “Property” shall mean, without limitation, any and all (a) real property; (b) intangible
property of any kind, including, but not limited to, cash and its equivalents denominated in any
currency, digital currency of any kind, stocks, mutual funds, other securities of any kind, bonds,
debentures, promissory notes, or insurance policies; (c) tangible property of any kind; and (d) any
interest You may hold in any such Property, including, but not limited to, any security interest,

lien, or mortgage of any kind.

12, The term “wire transfer” shall mean any wire, electronic transfer of funds or other meaning set

forth in Article 4A of New York’s Uniform Commercial Code.

13. “Unifleisch UK” shall mean the British private limited company Unifleisch Limited
incorporated on September 11, 2007, in London (Company number 06367987) and/or any of its
parent companies, affiliates, subsidiaries, shareholders, representatives, members, employees,

officers, directors, agents, accountants, consultants, successors, assigns, and attorneys to include.

14. “Unifleisch SA” shall mean the Swiss private limited company incorporated on May 03, 2002,
and/or any of its parent companies, affiliates, subsidiaries, representatives, members, employees,

officers, directors, agents, accountants, consultants, successors, assigns and attorneys.

15, “Valdarco” shall mean the Panama company “Valdarco Investments, Inc.”, incorporated on
April 04, 2008 (Company number 6110248), and/or any of its parent companies, affiliates,
subsidiaries, representatives, members, employees, officers, directors, agents, accountants,

consultants, successors, assigns and attorneys.

16, “Lunsville” shall mean the Panama company “Lunsville International, Inc.”, incorporated on
May 11, 2001 (Company number 3996518), and/or any of its parent companies, affiliates,
subsidiaries, representatives, members, employees, officers, directors, agents, accountants,

consultants, successors, assigns and attorneys.

Case 1:22-mc-00118-LAK Document 8 Filed 04/24/22 Page 10 of 32

17. “Joesley Batista” shall mean Joesley Mendonga Batista, a Brazilian citizen, with birth date

February 5, 1972, and/or his spouse and/or children.

18. ‘Wesley Batista” shall mean Wesley Mendonga Batista, a Brazilian citizen, with birth date

April 9, 1970, and/or his spouse and/or children.

19, “JBS” shall mean JBS S.A. and/or any of its parent companies/persons (including, but not
limited to, shareholders and/or equity holders in general), subsidiary companies, affiliated
companies, representatives, members, employees, officers, directors, agents, accountants,
consultants, successors, assigns and/or attorneys to include, but not limited to: J&F Investimentos
S.A.; ZMF Participacoes Investimento Fund; JBS Global Luxembourg S.A.R.L.; JBS Wisconsin
Properties, LLC; JBS Wisconsin LLC; JBS Ansembourg Holding S.A.R.L.; JBS Luxembourg
S.A.R.L.; JBS Holding Luxembourg $.A.R.L.; JBS Petrussa Finance 8.A.R.L.; JIBS USA Lux
S.A.; JBS USA Holdings, Inc.; JBS USA Food Co.; JBS Global UK; JBS Food Canada ULC; JBS
La Rochette $.A.R.L.; JBS Australia Pty Ltd.; JBS USA Food Company Holdings; Pilgrims Pride
Corp.; Pilgrim’s Pride Co.; Moy Park Holdings (Europe) Ltd.; FB Participacoes $.A.; Beef Brazil;
Friboi S/A; Seara Foods; Primo Smallfoods; Burcher PTY Ltd.; Rigamonti; Toledo; Meat Snacks;
Swift Beef Company; and/or Swift Pork Company.

INSTRUCTIONS

1, Unless otherwise specified (or subsequently agreed by the parties or ordered by the Court), these
requests seek documents created from May 11, 2001, through the date an order is granted on the

Application.

2. In response to these items to be produced, you are required to produce all responsive documents
in your possession, custody, or control, including documents in the possession of, or available or
accessible to, you or your predecessors, successors, parents, subsidiaries, divisions or affiliates, or

any of your respective directors, officers, managing agents, or employees.

3. A document is deemed to be in your possession, custody or control if it is in your physical
custody, or if it is in the physical custody of any other person and you (i) own such document in
whole or in part; (ii) have a right, by contract, statute, or otherwise to use, inspect, examine or copy

such document on any terms; (iii) have an understanding, express or implied, that you may use,

Case 1:22-mc-00118-LAK Document 8 Filed 04/24/22 Page 11 of 32

inspect, examine, or copy such document on any terms; or (iv) have, as a practical matter, been

able to use, inspect, examine, or copy such document when you sought to do so.

4, These instructions and the description of the items to be produced are to be read and interpreted

in accordance with the definitions set forth above.

5, For the purposes of reading, interpreting, or construing the scope of these items to be produced,

the terms used shall be given their most expansive and inclusive interpretation,

6. Unless instructed otherwise, each item to be produced shall be construed independently and not

by reference to any other request for the purpose of limitation.

7. Defined terms may be capitalized for convenience; the definitions herein apply whether or not

the term is capitalized.

8. If any portion of any document is responsive to any item to be produced, then the entire
document must be produced. If any requested item to be produced cannot be produced in full,
please produce the document to the extent possible, specifying each reason for your inability to

produce the remainder of the document.

9, All documents must be produced in their entirety, including all attachments, appendices, exhibits
and enclosures, and in their original folder, binder, or other cover or container unless that is not
possible. Whenever a document or group of documents is removed from a file folder, binder, file
drawer, file box, notebook, or other cover or container, a copy of the label of such cover or other
container must be attached to the document. Oversize figures and drawings must be produced in

their entirety.

10. Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, documents shall be produced
in the order in which they appear in your files or shall be organized and labeled to correspond to
the categories of the items to be produced. If a document to be produced is responsive to more than
one item, that document shall be labeled to correspond to each item to which it is responsive.
Documents shall not be shuffled or otherwise rearranged. Documents that were stapled, clipped,
or otherwise fastened together in their original condition shall be produced in such form as to

indicate the original grouping.

Case 1:22-mc-00118-LAK Document 8 Filed 04/28/22 Page 12 of 32

11. You have a duty to conduct a reasonable investigation to locate and produce the items to be

produced.

12. If you withhold any document under a claim of privilege, immunity, or protection, including
the attorney-client privilege or work product doctrine, you shail provide a written privilege log

that sets forth the following information:
(a) which privilege is claimed;
(b) who is asserting the privilege;
{c) a precise statement of the facts upon which said claim of privilege is based;
(d) the following information describing each purportedly privileged document:

i) a brief description sufficient to identify its nature, ie., agreement, letter,

memorandum, type, etc.;

ii) a brief description sufficient to identify its subject matter and purpose of the

document;
(e) the date it was prepared;
(f) the date it bears;
(2) the date it was sent;
(h) the date it was received;
(i) the identity of the person preparing it;
(j) the identity of the person sending it;

(k) the identity of each person to whom it was sent or was to have been sent, including all

addresses and all recipients of copies;

(1) a statement as to whom each identified person represented or purported to represent at all

relevant times; and

(m) all persons to whom its contents have been disclosed; and

Case 1:22-mc-00118-LAK Document 8 Filed 04/28/22 Page 14 of 32

17. If you object to any part of any item to be produced, you shall state fully the nature of the
objection, in writing, and shall nonetheless comply fully with the other parts of the item to be

produced not objected to.

18. These requests are continuing in nature. If, after producing any documents in response to these
requests, you obtain or become aware of additional responsive information or documents, you

should provide such information or documents by way of a supplemental production.

19. Applicant reserves its right to request inspection of the original documents, including those
stored electronically, as they are kept in the usual course of business. If the original is not in your
custody, then a copy thereof, and all non-identical copies which differ from the original or from
the other copies produced for any reason, including, without limitations, the making of notes

thereon.

FORMS OF PRODUCTION

A. Production of Hard Copy Documents — Format

1. Hard copy documents should be scanned as single-page, Group IV, 300 DPI TIFF images with
an .opt image cross-reference file and a delimited database load file (i.e. .dat). The database load
file should contain the following fields: “BEGNO,” “ENDNO,” “PAGES,” “VOLUME” and
“CUSTODIAN.” The documents should be logically unitized (i.¢., distinct documents shall not be
merged into a single record, and single documents shall not be split into multiple records) and be
produced in the order in which they are kept in the usual course of business. [fan original document
contains coler to understand the meaning or content of the document, the document shall be
produced as single-page, 300 DPI JPG images with JPG compression and a high-quality setting as
to not degrade the original image. Multi-page OCR text for each document should also be
provided. The OCR software shall maximize text quality over process speed, Settings such as

“auto-skewing” and “auto-rotation” should be turned on during the OCR process.
B. Production of ESI

2. Format: Electronically stored information (“ESI”) should be produced in single page, black and
white, TIFF Group IV, 300 DPI TIFF images, with the exception of spreadsheet type files, source

code, audio and video files, which should be produced in native format, TIFFs should show any

Case £:22-mME-00118-LAK Document 8 Filed 04/28/22 Page 13 of 32

(n) a precise description of the place where each copy of that document is kept, including

the title or description of the file in which said document may be found and the location of

such file.

13. Ifa portion of any document responsive to these Requests is withheld under claim of privilege,
any non-privileged portion of such document must be produced with the portion claimed to be
privileged redacted. Whenever a document is not produced in full or is produced in redacted form,
so indicate on the document, identifying those portions of the document which are not being
produced. For each document that is redacted, in addition to providing the redacted version of the
document, furnish logs which comply with the legal requirements under federal law, but at a

minimum will include the following information:
(a) The Begin Production ID of the document;
(b) The End Production [D of the document;
(c) A description of why privilege is being asserted over the document; and
(d) Which privilege is asserted.

14, Privilege and redaction logs may be produced on a rolling basis. You shall provide the logs

and supplements for each production within thirty (30) days of each given production date,

15. If, with respect to any item to be produced, there are no responsive documents, so state in

writing.

16. When a document or communication has been identified, but is alleged to be no longer in your
possession, custody, or control, you are required to identify the location of the document or
communication, and the individual or individuals, including the responding party’s counsel,
having possession, custody, or control over the document or communication, No documents or
communications called for by this Subpoena shall be destroyed, modified, removed, transferred,
or otherwise made inaccessible. If you have knowledge that a responsive document or
communication has been destroyed, discarded or lost, identify in a sworn affidavit the document
and/or communication and provide an explanation of the destruction, discarding, loss, or disposal;
the date at which the document and/or communication was destroyed, discarded, or lost; the

method in which it was destroyed or discarded; and for what purpose it was destroyed or discarded.

Case 1:22-mc-00118-LAK Documents Filed 04/28/22 Page 15 of 32

and all text and images which would be visible to the reader using the native software that created
the document. For example, TIFFs of e-mail messages should include the BCC line. PowerPoint
documents shail be processed with hidden slides and all speaker notes unhidden, and shall be
processed to show both the slide and the speaker’s notes on the TIFF image. If an original
document contains color, the document should be produced as single-page, 300 DPI JPG images
with JPG compression and a high-quality setting as to not degrade the original image. Parties are

under no obligation to enhance an image beyond how it was kept in the usual course of business.

3, Format — Native Files: If a document is produced in native format, a single-page, Bates-stamped
image slip sheet stating the document has been produced in native format should also be provided.
Each native file should be named according to the Bates number it has been assigned, and should
be linked directly to its corresponding record in the load file using the NATIVELINK field. To the
extent that either party believes that specific documents or classes of documents, not already
identified within this protocol, should be produced in native format, the parties should meet and

confer in good faith.

4, De-Duplication: You should remove exact duplicate documents based on MD5 or SHA-1 hash
values, at the family level. Attachments should not be eliminated as duplicates for purposes of
production, unless the parent e-mail and all attachments are also duplicates. An email that includes
content in the BCC or other blind copy field shall not be treated as a duplicate of an email that
does not include content in those fields, even if all remaining content in the email is identical.
Removal of near-duplicate documents and e-mail thread suppression is not acceptable. De-
duplication should be done across the entire collection (global de-duplication) and the
CUSTODIAN field should list each custodian, separated by a semi-colon, who was a source of
that document and the FILEPATH field wiil list each file path, separated by a semi-colon that was
a source of that document. Should the CUSTODIAN or FILEPATH metadata fields produced
become outdated due to rolling productions, an overlay file providing all the custodians and file
paths for the affected documents should be produced prior to substantial completion of the

document production.

5, Metadata: All ESI shall be produced with a delimited, database load file that contains the
metadata fields listed in Table 1, attached hereto. The metadata produced should have the correct

encoding to enable preservation of the documents’ original language.

Case 1:22-mc-00118-LAK Document 8 Filed 04/26/22 Page 16 of 32

6. Compressed Files Types: Compressed file types (i.e. .ZIP, .RAR, .CAB, .Z)} should be

decompressed so that the lowest level document or file is extracted.

7. Redactions: If you redact documents produced in native format, you must ensure that proper

formatting and usability are maintained.

DOCUMENTS TO BE PRODUCED

Request No. 1: All documents sufficient to identify any accounts or Property J.P. Morgan Chase
Bank, N.A. holds for Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. or in which those

companies hold a beneficial interest.

Request No. 2: all documents sufficient to identify any transaction effected by J.P. Morgan Chase
Bank, N.A. concerning Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA, or any account

or Property in which those companies hold beneficial interest.

Request No. 3: All documents and communications concerning Joesley Batista, Wesley Batista,
J&F and/or JBS in connection with Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA,

including documents sufficient to identify any transaction between those parties.

Request No. 4: All financial statements, bank statements, accounting records, and financial reports
of Lunsville International, Inc., Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK
including, but not limited to, those relating to financial transactions and/or all transfers of funds
into and out of the financial and/or bank accounts of Lunsville International, Inc., Valdarco

Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No. 5: All corporation formation records and filings of Lunsville International, Inc.,

Vaidarco Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No. 6: All documents and communications concerning the incorporation of Lunsville

International, Inc., Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No, 7: All decuments and communications related to Lunsville International, Inc.,

Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK concerning to the FinCen Files.

Request No. 8: All “Know Your Client” reports concerning Lunsville International, Inc., Valdarco

Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Case 1:22-ince-00118-LAK Document 8 Filed 04/28/22 Page 17 of 32

Request No. 9: All documents and communications concerning Unifleisch UK and/or Unifleisch

SA in connection with Lunsville and/or Valdarco,

Request No. 10: Documents sufficient to identify any wire transfers that were either originated or
received by Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. in which J.P. Morgan Chase
Bank, N.A. acted solely as an originating, intermediary bank or correspondent bank to CHIPS,

SWIFT, Fedwire, or otherwise to facilitate an interbank funds transfer.

Request No. 11: Documents sufficient to identify any orders, instructions, confirmations or
summaries for any wire transfer originated or received by Lunsville, Valdarco, Unifleisch UK

and/or Unifieisch SA.

Request No. 12: To the extent not included in the previous requests above, documents sufficient
to identify any CHIPS, SWIFT, or Fedwire payment message regarding any wire transfer
mentioning or otherwise concerning Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. in
which J.P. Morgan Chase Bank, N.A. acted solely as an originating, intermediary bank or
correspondent bank to CHIPS, SWIFT, Fedwire, or otherwise to facilitate an interbank funds

transfer.

BOCS/2798143.1

Case 1:22-mc-00118-LAK Document 8 Filed 04/24/22 Page 18 of 32

EXHIBIT 2
SUBPOENA FOR PRODUCTION OF DOCUMENTS

Barclays USA, Inc.

DOCS/2798417.1

Case 1:22-me-00118-LAK Document 8 Filed 04/26/22 Page 19 of 32

AO 88B (Rev. 12/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action

UNITED STATES DISTRICT COURT
for the
Southern District of New York

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In re Application pursuant to 28 U.3.C.§ 1782 for
discovery in aid of foreign proceeding

Defendant

Civil Action No,

Nee ee ee ee ee le’

SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVEL ACTION

To: Barclays USA, Inc.

~~ (Name of person to whom this subpoena is directed)
ff Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following

documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the

material:
See Attachment

Place: Baird Holm LLP, 1700 Farnam Street, Ste 1500, Date and Time:
Omaha, NE 68102-2068, attn: Jeremy C. Hollembeak

© Iuspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and iocation set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

Place: Date and Time: |

The following provisions of Fed. R. Civ, P, 45 are attached — Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:
CLERK OF COURT
OR
ee fs/ Jeremy C. Hollembeak
Signature of Clerk or Deputy Clerk Attorney's signature
The name, address, e-mail address, and telephone number of the attorney representing (ame ofparty) ___ Petitioner
SPS | Fundo de Investimento de Acdes — Investimento no Exterior , who issues or requests this subpoena, are:

Jeremy C. Hollembeak, Baird Holm LLP, 1700 Farnam Street, Ste 1500, Omaha, NE 68102-2068, Email:
_holleambeak@bairdhalm com, Tel: (402) 636-8317

Notice to the person who issues or requests this subpoena
A notice and a copy of the subpoena must be served on each party in this case before it is served on the person to whom

it is directed. Fed R, Civ, P, 45(a}(4).

Case 1:22-me-00118-LAK Document 8 Filed 04/20/22 Page 20 of 32

AO 88B (Rev, [2/13) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2}

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

I received this subpoena for (name of individual and title, if any)

on (date)

(J I served the subpoena by delivering a copy to the named person as follows:

On (date) ; OF

{ I returned the subpoena unexecuted because:

Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of

$

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed naine and title

Server's address

Additional information regarding attempted service, etc.:

Case 1:22-mc-00118-LAK Document 8 Filed 04/26/22 Page 21 of 32

AO 88B (Rev. 12/13) Subpocna to Produce Documents, Information, or Objects or to Permit Enspection of Premises in a Civil Action(Page 3)

Federal Rule of Civil Procedure 45 (c), (a), (e}, and (g) (Effective 12/1/13)

{c) Place of Compliance,

(1) Fer a Trial, Hearing, or Deposition. A subpoena may command a
person to attend a trial, hearing, or deposition only as follows:
(A) within £00 miles of where the person resides, is employed, or
regularly transacts business in person; or
(B) within the state where the person resides, is employed, or regularly
transacts business in person, if the person
(i) is a party or a party’s officer; or
(ii) is commanded to attend a trial and would not incur substantial
expense.

(2) Fer Other Discovery, A subpoena may command:

(A) production of documents, electronically stored information, or
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business in person; and

(B) inspection of premises at the premises to be inspected.

(d} Protecting a Person Subject to a Subpoena; Enforcement.

(1) Avoiding Undue Burden or Expense; Sanctions, A party or attorney
responsible for issuing and serving a subpoena must take reasonable steps
to avoid imposing undue burden or expense on a person subject to (he
subpoena. The court for the district where compliance is required must
enforce this duty and impose an appropriate sanction—which may include
lost earnings and reasonable attorney’s fees—on a party or attorney who
fails to comply.

(2) Conunand fo Produce Materials or Permit Inspection.

(A) Appearance Not Regitired. A person commanded to produce
documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of
production or inspection unless also commanded to appear for a deposition,
hearing, or trial,

(B) Objections. A person commanded to produce documents or tangible
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or
sampling any or all of the matertals or to inspecting the prermises—or to
producing electronically stored information in the form or forms requested.
The objection must be served before the earlier of the time specified for
compliance or 14 days after the subpoena is served. If an objection is made,
the following rules apply:

{i) Ai any time, on notice to the commanded person, the serving party
may move the court for the district where compliance is required for an
order compelling production or inspection.

(ii) These acts may be required only as directed in the order, and the
order must protect a person who is neither a party nor a party’s officer from
significant expense resulting from compliance.

(3) Quashing or Modifying a Subpoena.

(A) When Required, On timely motion, the court for the district where

compliance is required must quash or modity a subpoena that:

(i) fails to allow a reasonable time to comply;

(ii) requires a person to comply beyond the geographical limits
specified in Rule 45(c);

(iii) requires disclosure of privileged or other protected matter, if no
exception or waiver applies; or

(iv) subjects a person to undue burden.

(B) When Permitted, To protect a person subject to or affected by a
subpoena, the court for the district where compliance is required may, on
motion, quash or modify the subpoena if it requires:

(i) disclosing a trade secret or other confidential research,
development, or commercial information; or

{ii} disclosing an unretained expert’s opinion or information that does
not describe specific occurrences in dispute and results from the expert’s
study that was not requested by a party.

(C} Specifving Conditions as an Alternative, In the circumstances
described in Rule 45(d}(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under specified
conditions if the serving party:

(i) shows a substantial need for the testimony or material that cannot be
otherwise met without undue hardship; and

(ii) ensures that the subpocnacd person will be reasonably compensated,

(c) Duties in Responding to a Subpoena.

(1) Producing Documents or Electronicaily Stored Inforuiation, These
procedures apply to producing docaments or electronically stored
information:

(A) Documents. A person responding to a subpoena to produce documents
must produce them as they are kept in the ordinary course of business or
must organize and label them to correspond to the categories in the demand.

(B) Form: for Producing Electronically Stored Information Not Specified.
Ifa subpoena does not specify a form for producing electronically stored
information, the person responding must produce it in a form or forms in
which it is ordinarily maintained or in a reasonably usable form or forms.

(C) Electronically Stered {Information Produced in Only One Form, The
person responding need not produce the same cicctronically stored
information in more than one form.

(DB) fnaccessible Electronically Stored Information. The person
responding need nat provide discovery of electronically stored information
from sources that the person identifies as not reasonably accessible because
of undue burden or cost. On motion te compel discovery or for a protective
order, the person responding must show that the information ts not
reasonably accessible because of undue burden or cost. if that showing is
made, the court may nonetheless order discovery from such sources if the
requesting party shows good cause, considering the limitations of Rule
26(b)(2)(C). The court may specify conditions for the discovery.

(2} Claiming Privilege or Protection.

(A) information Withheld, A person withholding subpoenaed information
under a claim that it is privileged or subject to protection as trial-preparation
material must:

(i) expressly make the claim; and

(ii) describe the nature of the withheld documents, communications, or
tangible things in a manner that, without revealing information itself
privileged or protected, will enable the parties to assess the claim.

(B) fuformation Produced. If information produced in response to a
subpoena is subject to a claim of privilege or of protection as
trial-preparation material, the person making the claim may notify any party
that received the information of the claim and the basis for it. After being
notified, a party must prompily return, sequester, or destroy the specified
information and any copies it has; must not use or disclose the information
until the claim is resolved: must take reasonable steps {o retrieve the
information if the party diselosed it before being notified; and may promptly
present the information under seal to the court for the district where
compliance is required for 2 determination of the claim. The person who
produced the information must preserve the information until the claim is
resolved.

(g) Contempt.

The court for the district where compliance is required-——and aiso, after a
motion is transferred, the issuing court—may hold in contempt a person
who, having been served, fails without adequale excuse to obcy the
subpoena or an order related to it.

For access to subpocna materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).

Case 1:22-mc-00118-LAK Document 8 Filed 04/26/22 Page 22 of 32

Attachment A

DOCUMENTS TO BE PRODUCED

Pursuant to Rules 34 and 45 of the Federal Rules of Civil Procedure, You are required to produce
the documents and/or communications in Your possession, custody, or control responsive to the
requests for production (“Requests”) set forth below, at the place, date, and time specified in the
document subpoena to which this schedule is attached, or at such other time as may be agreed, in

accordance with the Federal Rules of Civil Procedure.

DEFINITIONS

The words and phrases set forth below have the following meanings when used in the Requests:

1, The term “Applicant” shall mean SPS I Fundo de Investimento de Acdes — Investimento no

Exterior, or any other representative acting on its behalf,

2. “Agent” of an entity means a person or other entity with apparent or actual authority to act on
the first entity’s behalf for any purpose whatsoever, or any Affiliate or representative of the first
entity, including but not limited to advisors, attorneys, consultants, employees, experts, fiduciaries,

and insurers.

3, “Any” shall be construed to include the word “all”, and “all” shall be construed to include the

word “any”.

4, The words “and” and “or” shall be construed either disjunctively or conjunctively as necessary
to bring within the scope of the discovery request all responses that might otherwise be construed

to be outside of its scope.

5. “Communication” or “communications” means any transmittal of information (in the form of
facts, ideas, inquiries, or otherwise) whether orally or by document, telephone, telecopier, mail,
fax, email, voicemail, cellular phone text message, instant message, personal delivery, or by any

other means, be they analog, electronic or otherwise,

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6. The terms “concerning,” “concerns,” “relating to,” “referring to, reflecting,”

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“eyidencing,”, “constituting” and any variant thereof , means relating to, regarding, referring to,

concerning, reflecting, involving, pertaining to, containing, describing, evidencing, discussing,

Case 1:22-mé-00118-LAK Desument8 Filed 04/24/22 Page 23 of 32

analyzing, recording, embodying, or constituting the subject matter described in the category of

documents.

7. “Document” or “documents” includes, but is not limited to, all accounts, accounting journals,
addenda, advertising materials, agreements, analyses, bids, bills, blueprints, books, bulletins,
calendars, canceled checks, cashbook, charts, checkbooks, check stubs, chronicle, computer
software, contracts, contract memoranda, memoranda of conversations or communications,
correspondence, delivery tickets, diagrams, diaries, drawings, electronic mail, estimates, facsimile
sheets, financial statements, flow sheets, forms, graphs, index, index sheets, internal
communications, stant messages, inter-office directives, invoices, job cost records, journals,
ledgers, letters, lists, logbooks, magnetic tapes, manuals, maps, memoranda, microcards,
microfilms, minutes, notes, orders, outlines, papers photographs, plans, price lists, printouts,
proposals, purchase orders, quotations, Quickbook records, records, renderings, reports, requests,
requisitions, schedules, sketches, statements, studies, summaries, tapes, telegrams, telephone bills,
telephone message slips, text messages, time sheets, transcripts, transmittals, travel and expense
accounts, vellums, videotapes, vouchers, work orders, WhatsApp communication, worksheets,
writings and any other data or data compilation stored in any medium from which information can
be obtained in your possession, custody, or control, or known to you, whether or not prepared by
you. “Document” or “documents” also includes all copes which are not identical with the original.
In addition, each request should be considered as including all copies, and to the extend applicable,
preliminary drafts of documents that differ in any respect from the original or final draft or from
each other (e.g., by reason of differences in form or content or by reason of handwritten notes or
comments having been added to one copy of document but not on the original or other copies
thereof), The term “Documents” includes both hard copy documents and electronically stored
information (“EST”), including email, instant messaging, shared network files, databases, any data
on magnetic or optical storage media (e.g., servers, storage area networks, hard drives, backup
tapes, CDs, DVDs, thumb/flash drives, floppy disks, or any other type of portable storage devices)

stored as either an “active” or backup file, in its Native Format.

8. “Each” shall be construed to include the word “every”, and “every” shall be construed to include

the word “each”.

9, The term “including” shall mean including without limitation.

Case 1:22-mc-O0118-LAK Document Filed 04/26/22 Page 24 of 32

10. “Person” refers to a natural person, group of natural persons acting as individuals or group of
persons acting in a collective capacity (e.g., as a committee, board of directors, etc.} or any legal
entity, including, without imitation, any business or governmental entity or associations, including
a governmental agency, corporation, partnership, sole proprietorship, trust, or business entity in

any form.

11. The term “Property” shall mean, without limitation, any and all (a) real property; (b) intangible
property of any kind, including, but not limited to, cash and its equivalents denominated in any
cutrency, digital currency of any kind, stocks, mutual funds, other securities of any kind, bonds,
debentures, promissory notes, or insurance policies; (c) tangible property of any kind; and (d) any
interest You may hold in any such Property, including, but not limited to, any security interest,

lien, or mortgage of any kind.

12. The term “wire transfer” shall mean any wire, electronic transfer of funds or other meaning set

forth in Article 4A of New York’s Uniform Commercial Code.

13. “Unifleisch UK” shall mean the British private limited company Unifleisch Limited
incorporated on September 11, 2007, in London (Company number 06367987) and/or any of its
parent companies, affiliates, subsidiaries, shareholders, representatives, members, employees,

officers, directors, agents, accountants, consultants, successors, assigns, and attorneys to include.

14, “Untfleisch SA” shall mean the Swiss private limited company incorporated on May 03, 2002,
and/or any of its parent companies, affiliates, subsidiaries, representatrves, members, employees,

officers, directors, agents, accountants, consultants, successors, assigns and attorneys.

15. “Valdarco” shall mean the Panama company “Valdarco Investments, Inc.”, incorporated on
April 04, 2008 (Company number 6110248), and/or any of its parent companies, affiliates,
subsidiaries, representatives, members, employees, officers, directors, agents, accountants,

consultants, successors, assigns and attorneys.

16. “Lunsville” shall mean the Panama company “Lunsville International, Inc.”, incorporated on
May 11, 2001 (Company number 3996518), and/or any of its parent companies, affiliates,
subsidiaries, representatives, members, employees, officers, directors, agents, accountants,

consultants, successors, assigns and attorneys,

Ease 1:22-mée-OOlls-LAK Desument$ Filed 04/24/22 Page 25 of 32

17. “Joesley Batista” shall mean Joesley Mendonga Batista, a Brazilian citizen, with birth date

February 5, 1972, and/or his spouse and/or children,

18. “Wesley Batista” shall mean Wesley Mendonga Batista, a Brazilian citizen, with birth date

April 9, 1970, and/or his spouse and/or children.

19. “JBS” shall mean JBS S.A. and/or any of its parent companies/persons (including, but not
limited to, shareholders and/or equity holders in general), subsidiary companies, affiliated
companies, representatives, members, employees, officers, directors, agents, accountants,
consultants, successors, assigns and/or attorneys to include, but not limited to: J&F Investimentos
S.A. ZMF Participacoes Investimento Fund; JBS Global Luxembourg S.A.R.L.; JBS Wisconsin
Properties, LLC; JBS Wisconsin LLC; JBS Ansembourg Holding S.A.R.L.; JBS Luxembourg
S.A.R.L.; JBS Holding Luxembourg S.A.R.L.; JBS Petrussa Finance S.A.R.L.; JBS USA Lux
5.A.; JBS USA Holdings, Inc.; JBS USA Food Co.; JBS Global UK; JBS Food Canada ULC; JBS
La Rochette S.A.R.L.; TBS Australia Pty Ltd.; IBS USA Food Company Holdings; Pilgrims Pride
Corp.; Pilgrim’s Pride Co.; Moy Park Holdings (Europe) Ltd.; FB Participacoes S.A.; Beef Brazil;
Friboi 8/A; Seara Foods; Primo Smallfoods; Burcher PTY Ltd.; Rigamonti; Toledo; Meat Snacks;
Swilt Beef Company; and/or Swift Pork Company.

INSTRUCTIONS

1. Unless otherwise specified (or subsequently agreed by the parties or ordered by the Court), these
requests seek documents created from May 11, 2001, through the date an order is granted on the

Application.

2. In response to these items to be produced, you are required to produce all responsive documents
in your possession, custody, or control, including documents in the possession of, or available or
accessible to, you or your predecessors, successors, parents, subsidiaries, divisions or affiliates, or

any of your respective directors, officers, managing agents, or employees.

3. A document is deemed to be in your possession, custody or control if it is in your physical
custody, or if it is in the physical custody of any other person and you (i) own such document in
whole or in part; (ii) have a right, by contract, statute, or otherwise to use, inspect, examine or copy

such document on any terms; (iii) have an understanding, express or implied, that you may use,

Case 1:22-me-OO11s-LAK Document S$ Filed 04/24/22 Page 26 of 32

inspect, examine, or copy such document on any terms; or (iv) have, as a practical matter, been

able to use, inspect, examine, or copy such document when you sought to do so.

4, These instructions and the description of the items to be produced are to be read and interpreted

in accordance with the definitions set forth above.

5. For the purposes of reading, interpreting, or construing the scope of these items to be produced,

the terms used shall be given their most expansive and inclusive interpretation.

6. Unless instructed otherwise, each item to be produced shall be construed independently and not

by reference to any other request for the purpose of limitation.

7. Defined terms may be capitalized for convenience; the definitions herein apply whether or not

the term is capitalized.

8. If any portion of any document is responsive to any item to be produced, then the entire
document must be produced. If any requested item to be produced cannot be produced in full,
please produce the document to the extent possible, specifying each reason for your inability to

produce the remainder of the document.

9, All documents must be produced in their entirety, including all attachments, appendices, exhibits
and enclosures, and in their original folder, binder, or other cover or container unless that is not
possible. Whenever a document or group of documents is removed from a file folder, binder, file
drawer, file box, notebook, or other cover or container, a copy of the label of such cover or other
container must be attached to the document. Oversize figures and drawings must be produced in

their entirety,

10. Pursuant to Rule 45(e) of the Federal Rules of Civil Procedure, documents shall be produced
in the order in which they appear in your files or shall be organized and labeled to correspond to
the categories of the items to be produced. Ifa document to be produced is responsive to more than
one item, that document shall be labeled to correspond to each item to which it is responsive.
Documents shall not be shuffled or otherwise rearranged. Documents that were stapled, clipped,
or otherwise fastened together in their original condition shall be produced in such form as to

indicate the original prouping.

Ease L:22mE-OOLIG-LAK Document Filed 04/24/22 Page 27 of 32

11. You have a duty to conduct a reasonable investigation to locate and produce the items to be

produced.

12. If you withhold any document under a claim of privilege, immunity, or protection, including
the attorney-client privilege or work product doctrine, you shall provide a written privilege log

that sets forth the following information:
(a) which privilege is claimed;
(b) who is asserting the privilege;

(c) a precise statement of the facts upon which said claim of privilege ts based;

(d) the following information describing each purportedly privileged document:

i) a brief description sufficient to identify its nature, ie, agreement, letter,

memorandum, type, etc.;

ii) a brief description sufficient to identify its subject matter and purpose of the

document;
(e) the date it was prepared;
(f) the date it bears;
(g) the date it was sent;
(h) the date it was received;
(1) the identity of the person preparing it;
(j) the identity of the person sending it;

(k) the identity of each person to whom it was sent or was to have been sent, including all

addresses and all recipients of copies;

(I) a statement as to whom each identified person represented or purported to represent at all

relevant times; and

(m) all persons to whom its contents have been disclosed; and

Case 1:22-m€-O00118-LAK Document 8 Filed 04/24/22 Page 28 of 32

{n) a precise description of the place where each copy of that document is kept, including
the title or description of the file in which said document may be found and the location of

such file,

13. Ifa portion of any document responsive to these Requests is withheld under claim of privilege,
any non-privileged portion of such document must be produced with the portion claimed to be
privileged redacted. Whenever a document is not produced in full or is produced in redacted form,
so indicate on the document, identifying those portions of the document which are not being
produced. For each document that is redacted, in addition to providing the redacted version of the
document, furnish logs which comply with the legal requirements under federal law, but at a

minimum will include the following information:
(a) The Begin Production ID of the document;
(b) The End Production ID of the document;
(c) A description of why privilege is being asserted over the document; and

(d) Which privilege is asserted.

14, Privilege and redaction logs may be produced on a rolling basis. You shall provide the logs

and supplements for each production within thirty (30) days of each given preduction date.

15. If, with respect to any item to be produced, there are no responsive documents, so state in
writing,

16. When a document or communication has been identified, but is alleged to be no longer in your
possession, custody, or control, you are required to identify the location of the document or
communication, and the individual or individuals, including the responding party’s counsel,
having possession, custody, or control over the document or communication. No documents or
communications called for by this Subpoena shall be destroyed, modified, removed, transferred,
or otherwise made inaccessible. If you have knowledge that a responsive document or
communication has been destroyed, discarded or lost, identify in a sworn affidavit the document
and/or communication and provide an explanation of the destruction, discarding, loss, or disposal;
the date at which the document and/or communication was destroyed, discarded, or lost; the

method in which it was destroyed or discarded; and for what purpose it was destroyed or discarded.

Ease 1:22 OOLIGLAK Document 8 Filed 04/24/22 Page 29 of 32

17. If you object to any part of any item to be produced, you shall state fully the nature of the
objection, in writing, and shall nonetheless comply fully with the other parts of the item to be

produced not objected to.

18. These requests are continuing in nature. If, after producing any documents in response to these
requests, you obtain or become aware of additional responsive information or documents, you

should provide such information or documents by way of a supplemental production.

19. Applicant reserves its right to request inspection of the original documents, including those
stored electronically, as they are kept in the usual course of business. If the original is not in your
custody, then a copy thereof, and all non-identical copies which differ from the original or from
the other copies produced for any reason, including, without limitations, the making of notes

thereon.

FORMS OF PRODUCTION

A, Production of Hard Copy Decuments — Format

1, Hard copy documents should be scanned as single-page, Group TV, 300 DPI TIFF images with
an .opt image cross-reference file and a delimited database load file (i.e. .dat). The database load
file should contain the following fields: “BEGNO,” “ENDNO,” “PAGES,” “VOLUME” and
“CUSTODIAN.” The documents should be logically unitized (1.e., distinct documents shall not be
merged into a single record, and single documents shall not be split into multiple records) and be
produced in the order in which they are kept in the usual course of business. If an original document
contains color to understand the meaning or content of the document, the document shall be
produced as single-page, 300 DPI JPG images with JPG compression and a high-quality setting as
to not degrade the original image. Multi-page OCR text for each document should also be
provided. The OCR software shall maximize text quality over process speed. Settings such as

“auto-skewing” and “auto-rotation” should be turned on during the OCR process.

B. Production of ESI

2. Format: Electronically stored information (“EST”) should be produced in single page, black and
white, TIFF Group [V, 300 DPI TIFF images, with the exception of spreadsheet type files, source

code, audio and video files, which should be produced in native format. TIFFs should show any

Ease 1:22-m6-99118-LAK Desument 8 Filed 64/24/22 Page 36 ef 32

and all text and images which would be visible to the reader using the native software that created
the document, For example, TIFFs of e-mail messages should include the BCC line. PowerPoint
documents shall be processed with hidden slides and all speaker notes unhidden, and shall be
processed to show both the slide and the speaker’s notes on the TIFF image. If an original
document contains color, the document should be produced as single-page, 300 DPI JPG images
with JPG compression and a high-quality setting as to not degrade the original image. Parties are

under no obligation te enhance an image beyond how it was kept in the usual course of business.

3. Format — Native Files: [fa document is produced in native format, a single-page, Bates-stamped
image slip sheet stating the document has been produced in native format should also be provided.
Each native file should be named according to the Bates number it has been assigned, and should
be linked directly to its corresponding record in the load file using the NATIVELINK field. To the
extent that either party believes that specific documents or classes of documents, not already
identified within this protocol, should be produced in native format, the parties should meet and

confer in good faith.

4. De-Duplication: You should remove exact duplicate documents based on MD5 or SHA-1 hash
values, at the family level. Attachments should not be eliminated as duplicates for purposes of
production, unless the parent e-mail and ali attachments are also duplicates. An email that includes
content in the BCC or other blind copy field shall not be treated as a duplicate of an email that
does not include content in those fields, even if all remaining content in the email is identical.
Removal of near-duplicate documents and e-mail thread suppression is not acceptable. De-
duplication should be done across the entire collection (global de-duplication) and the
CUSTODIAN field should list each custodian, separated by a semi-colon, who was a source of
that document and the FILEPATH field will list each file path, separated by a semi-colon that was
a source of that document. Shouid the CUSTODIAN or FILEPATH metadata fields produced
become outdated due to rolling productions, an overlay file providing all the custodians and file
paths for the affected documents should be produced prior to substantial completion of the

document production.

5. Metadata: All ESI shali be produced with a delimited, database load file that contains the
metadata fields listed in Table 1, attached hereto. The metadata produced should have the correct

encoding to enable preservation of the documents’ original language,

Ease 1:22-mé-00118-LAK Doesuments Filed 04/24/22 Page 31 ef 32

6. Compressed Files Types: Compressed file types (ie. .ZIP, RAR, .CAB, .Z) should be

decompressed so that the lowest level document or file is extracted.

7. Redactions: If You redact documents produced in native format, you must ensure that proper

formatting and usability are maintained.

DOCUMENTS TO BE PRODUCED

Request No, |: All documents sufficient to identify any accounts or Property Barclays USA, Inc.
holds for Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. or in which those companies

hold a beneficial interest.

Request No. 2: all documents sufficient to identify any transaction effected by Barclays USA, Inc.
concerning Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. or any account or Property

in which those companies hold beneficial interest.

Request No. 3: All documents and communications concerning Joesley Batista, Wesley Batista,
J&F and/or JBS in connection with Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA,

including documents sufficient to identify any transaction between those parties.

Request No. 4: All financial statements, bank statements, accounting records, and financial reports
of Lunsville International, Inc., Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK
including, but not limited to, those relating to financial transactions and/or all transfers of funds
into and out of the financial and/or bank accounts of Lunsville International, Inc., Valdarco

Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No. 5: All corporation formation records and filings of Lunsville International, Inc.,

Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No. 6: All documents and communications concerning the incorporation of Lunsville

International, Inc., Valdarco Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Request No. 7: All documents and communications related to Lunsville International, Inc.,

Valdarco Investments Ltd., Unifleisch SA and/or Unifletsch UK concerning to the FinCen Files.

Request No. 8: All “Know Your Client” reports concerning Lunsville International, Inc., Valdarco

Investments Ltd., Unifleisch SA and/or Unifleisch UK.

Case L:22-meOOl1s-LAk DequinentS Filed 04/24/22 Page 32 of 32

Request No. 9: All documents and communications concerning Unifleisch UK and/or Unifleisch

SA in connection with Lunsville and/or Valdarco,

Request No. 10: Documents sufficient to identify any wire transfers that were either originated or
received by Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. in which Barclays USA,
Inc, acted solely as an originating, intermediary bank or correspondent bank to CHIPS, SWIFT,

Fedwire, or otherwise to facilitate an interbank funds transfer.

Request No. 11: Documents sufficient to identify any orders, instructions, confirmations or
summaries for any wire transfer originated or received by Lunsville, Valdarco, Unifleisch UK

and/or Unifleisch SA.

Request No. 12: To the extent not included in the previous requests above, documents sufficient
to identify any CHIPS, SWIFT, or Fedwire payment message regarding any wire transfer
mentioning or otherwise concerning Lunsville, Valdarco, Unifleisch UK and/or Unifleisch SA. in
which Barclays USA, Inc. acted solely as an originating, intermediary bank or correspondent bank

to CHIPS, SWIFT, Fedwire, or otherwise to facilitate an interbank funds transfer.

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